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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

TEXARKANA DIVISION
UNITED STATES OF AMERICA §
§
VS. § NO. 5:10cr13
§ JUDGE FOLSOM
MICHAEL ALLEN HAMMONDS §
FACTUAL RESUME

Investigation by the Federal Bureau of Investigation (FBI) and the United States
Marshals Service disclosed the following facts that establish that I, the Defendant,
Michael Alien Hammonds, committed the conduct described in Counts 1 and 2 of the
Indictment, which charge violations of 18 U.S.C. § 876 (Mailing a threatening
communication). I agree that the following factual basis is true and correct:

1. On April 13, 2006, in the U.S. District Court for the Eastern District of
Texas, I was charged with the offense of bank robbery (18 U.S.C. § 2113) in case number
4:06cr75. Thereafter, I entered a plea of guilty to this offense. On October 20, 2006, I
was sentenced to 55 months imprisonment for this offense by U.S. District Judge Richard
A. Schell.

2, In April 2009, I was incarcerated at the Federal Correctional Institution
(FCT) at Butner, North Carolina due to my bank robbery conviction. At this location, on
or about April 7, 2009, I mailed through the United States Postal Service a letter

addressed to:

Richard A. Schell
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302 Federal Building
101E. Pecan St.
Sherman, TX 75090
I am aware that this letter was delivered to the U.S. Courthouse in Sherman, TX on or

about April 13, 2009. This letter contained a threat to injure U.S. District Court Judge

Richard Schell, as follows:

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3, On June 24, 2009, at FCI Butner, 1 waived my rights to remain silent and
was interviewed by FBI Speciai Agent (SA) Kinney concerning the above letter. At that
time, I admitted to writing and mailing the letter to Judge Schell. I explained that I had
mailed the letter to Judge Schell because I was angry with him for sentencing me to 55
months in prison. I told Special Agent Kinney that I intended to physically confront
Judge Schell upon my release from prison. When asked what I would do during this
physical confrontation, I responded that this was between Judge Schell and myself.

4. In July 2009, I was still incarcerated at the FCI Butner, North Carolina, At

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this location, I mailed through the United States Postal Service a letter addressed to:

Richard A. Shell

302 Federal Building
LOLE. Pecan St.
Sherman, TX 75090

Lam aware that this letter was delivered to the U.S. Courthouse in Sherman, TX on or

about July 26, 2009. This letter contained a threat to injure Judge Schell, as follows:

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5, On September 29, 2009, at FCI Butner, I waived my rights to remain silent
and was interviewed by FBI SA Kinney concerning the above second letter. At that time,
Ladmitted to writing and mailing the letter to Judge Schell. I explained that I was still
angry at Judge Schell for the sentence that he had imposed. J also told him that I intend to
do Judge Schell physical harm once I am released from prison. I told SA Kinney that I

am serious, but that I do not intend on having any of my fellow Texas Aryan Brotherhood

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gang members intervene on my behalf with Judge Schell.

6. I am aware that Sherman, TX is in Grayson County, in the Eastern District
of Texas.

7. I acknowledge that these acts constitute violations of 18 U.S.C. § 876
(Mailing a threatening communication). I hereby stipulate that the facts described above

are true and correct and I accept them as the uncontroverted frets of this case.

Dated: sMel! o \ Mo AL

Michael Wien ihe
Defendant

 

Defendant's counsel's signature and acknowledgment:

 

I have read this Factual Resume and the Plea Agreement in this matter and
have reviewed them with my client. Based upon my discussions with my client, lam
satisfied that he understands the terms and effects of the Factual Resume and the Plea
Agreement and that he is signing this Factual Resume voluntarily.

Dated: S, {i J de a ” fe so .

Ke Henry ,
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